
















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH

NO. 2-04-574-CR





STAN ALLEN LIPPINCOTT &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;					APPELLANT



V.

THE STATE OF TEXAS	STATE

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FROM THE 97
TH
 
DISTRICT
 
COURT OF MONTAGUE COUNTY

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MEMORANDUM OPINION
(footnote: 1) AND JUDGMENT

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We have considered “Appellant’s Motion To Dismiss Appeal.” &nbsp;The motion complies with rule 42.2(a) of the rules of appellate procedure. 
Tex. R.
 
App
. P. 42.2(a). &nbsp;No decision of this court having been delivered before we received this motion, we grant the motion and dismiss the appeal. 
See id.;
 
Tex. R. App. P.
 43.2(f). 															

PER CURIAM



PANEL D:	CAYCE, C.J.; LIVINGSTON, and DAUPHINOT, JJ.





DO NOT PUBLISH

Tex. R. App. P. 
47.2(b)



DELIVERED: March 24, 2005							

FOOTNOTES
1:See
 
Tex. R. App. P.
 47.4.




